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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

HUNT CONSTRUCTION GROUP, INC.,                            §
  an Indiana corporation,                                 §
                                                          §
       Plaintiff,                                         § Case No. 1:CV-17-215
                                                          §
       v.                                                 §
                                                          §
COBB MECHANICAL CONTRACTORS, INC.,                        §
a Colorado corporation,                                   §
                                                          §
and
                                                          §
LIBERTY MUTUAL INSURANCE COMPANY, a                       §
   Massachusetts corporation,                             §
                                                          §
       Defendants.                                        §

              DEFENDANT COBB MECHANICAL CONTRACTORS, INC.’S
                     SECOND AMENDED COUNTERCLAIM

       Defendant Cobb Mechanical Contractors, Inc. (“Cobb”) files the following Second

Amended Complaint.

                                              I.
                                        INTRODUCTION

       1.         On January 31, 2018, pursuant to this Court’s scheduling order, Cobb filed its

First Amended Answer to Plaintiff’s Complaint and Amended Counterclaim. Subsequently, on

February 2, 2018, Hunt filed its Amended Complaint for Injunctive and Other Relief. On

February 12, 2018, Cobb filed its First Amended Answer to Plaintiff’s First Amended

Complaint. That filing did not re-plead Cobb’s Amended Counterclaim.

       2.         In an abundance of caution, Cobb is repleading its Amended Counterclaim in

response to Hunt’s Amended Complaint. Cobb’s Second Amended Counterclaim, set out below,

is identical to the Amended Counterclaim it filed on January 31, 2018. Cobb makes this filing


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under Federal Rule of Civil Procedure 13(a).           The claims asserted herein are compulsory

counterclaims that arise out of the transaction or occurrence that is the subject matter of the

Plaintiff’s claims.

                                          II.
                             SECOND AMENDED COUNTERCLAIM

                                        Factual Background

A.      The Fairmont Project and the Parties’ Subcontract.

        3.        The Fairmont Project (the “Project”) is a luxury hotel located in Austin, Texas. It

consists of a seven-story “Podium” topped by a 31-story “Tower.”              The Podium contains

meeting rooms, spa, pool, concierge, and other amenities. The Tower contains individual guest

rooms. The Fairmont Hotel is currently uncompleted and seriously behind schedule.

        4.        Hunt is the general contractor/construction manager on the Project. As such, it

was exclusively responsible for managing the subcontractors on the Project and coordinating

with the Owner. It was also responsible for maintaining the Project site and ensuring that all of

the subcontractors had access to the site, including access to the 30-story Tower.

        5.        Cobb is an experienced contractor for plumbing and mechanical systems. Cobb

has been in business for nearly fifty years. It prepared a detailed analysis of the necessary labor,

materials, and supervisors required for the plumbing and mechanical systems in the Project.

Cobb also took into account certain preliminary scheduling information provided by Hunt during

the proposal phase. Cobb based its bid upon and in reliance upon the information that Hunt

provided and communications with Hunt personnel. Cobb bid the Project, and executed the

Subcontract, on the basis of this analysis. It thus reasonably expected that the actual jobsite

conditions would be consistent with those described and represented by Hunt.



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        6.        During the Subcontract negotiations, the parties could not come to a final

agreement on a number of issues. In an effort to reach conclusion and move forward, the Parties

decided to use the Hunt – Owner Contract as a “touchstone” and to ensure that Cobb would not

be prejudiced or held to the more unreasonable or stringent terms of the Hunt subcontract form.

Specifically, the Parties agreed to make Attachment IV a part of the Subcontract. Attachment IV

states that “[i]n the event there is a conflict in terms between this Subcontract Agreement and

Hunts Contract with Owner, it is hereby agreed that the less stringent terms to the two documents

shall take precedence.”      In short, this provision ensures that the Subcontract is no more

restrictive to Cobb than the Hunt – Owner Contract is to Hunt. This Attachment was added to

the Subcontract to protect Cobb from certain overly stringent provisions in the Subcontract. One

such example concerns the right to terminate in part. The Hunt – Owner Contract does not give

a broad right to partially terminate. As such, Hunt does not have the right to partially terminate

Cobb, as any additional right to terminate in part is more stringent and thus is not applicable.

        7.        The Parties entered into a July 20, 2015 Subcontract. Cobb agreed to construct

and install the mechanical and plumbing systems in the Podium and Tower. In exchange, Cobb

was to be paid a “Subcontract Sum” of $30,938,190 for the subcontract scope of work, which

amount was to be paid out periodically through Progress Payment Applications that were to be

submitted by Cobb to Hunt.

        8.        The Subcontract noted that “time is of the essence in this Subcontract.”         It

required Cobb to “participate and coordinate” in the development of the Project Schedule. It

further stated that:

                  Subcontractor’s Schedule: As described throughout the Subcontract, time is of
                  the essence in the prosecution of Subcontractor’s Work. Subcontractor will
                  complete the work as set forth in the mutually agreed upon CPM schedule.


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        9.        The requirement that the schedule be mutually agreed upon was a material

condition precedent to Cobb’s ability to properly perform its obligations under the Subcontract.

Without a mutually agreed upon CPM Schedule, Cobb is unable to efficiently and effectively

perform its duties. The same holds true with respect to the other subcontractors on the Project.

An effective CPM schedule is required in order to properly sequence and complete the various

trade works and to establish overall task durations, and then to properly plan and manage the

work.   Cobb would not have executed the Parties’ Subcontract if it had not included this

requirement.

B.      The Parties never reached a mutually agreed upon CPM schedule.

        10.       Throughout the Project, Hunt failed to communicate and cooperate with Cobb and

other subcontractors regarding the schedule. Hunt never provided a workable mutually agreed

upon CPM Schedule to Cobb. The initial schedules that Hunt provided to Cobb contained

numerous scheduling and logic errors, missing activities, missing predecessors/successors and

inaccurate durations. Moreover, the critical activity paths on the existing Hunt schedules were

flawed and dysfunctional due to the improper sequencing and missing task dependencies.

        11.       Cobb repeatedly offered to work with Hunt in order to fix these scheduling issues

and create a mutually agreeable CPM Schedule. Given the numerous errors in Hunt’s proposed

CPM Schedule, Cobb believed that the Parties should meet in person to create a new workable

CPM Schedule. Cobb repeatedly requested these meetings with Hunt. Cobb’s offers fell upon

deaf ears, however, as Hunt refused to engage in meaningful CPM scheduling discussions.

        12.       Hunt also failed to provide native project schedules and updates to Cobb

throughout the Project. The Project record contains numerous written requests by Cobb to Hunt

for the necessary scheduling materials. Cobb’s repeated requests explained that Cobb needed


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this native format scheduling information in order to properly evaluate Hunt’s sequences and

provide Hunt the proper information to allow Cobb to properly execute its work.                Hunt

consistently ignored and refused Cobb’s requests, and as a result, Cobb was kept in the dark as to

the actual Project schedule.

       13.        Other subcontractors also complained about the lack of a constructible Project

CPM Schedule, and requested updated schedules during the subcontractor meetings. While Hunt

would promise updated schedules were forthcoming, all it provided were infrequent short

interval schedules, which were insufficient. Examples of other subcontractors raising complaints

regarding the schedule and out of sequence work, etc. include, by way of example:

       •          Sheet Rock Subcontractor in the Podium complained they were brought on 3
                  months premature by Hunt putting their work out of sequence;

       •          Berg Electric – was very vocal about the schedule and lack thereof;

       •          All subcontractors complained weekly in the Subcontractor Coordination
                  meetings and MEP meetings that Hunt was not giving the subcontractors their
                  allotted time and agreed to time for layout on decks prior to concrete pours;

       •          Otis Elevator – Had several complaints with Hunt not completing predecessor
                  work and ordering of materials that Hunt was responsible for ordering preventing
                  Otis from completing their work;

       •          North Star – Fire Protection Subcontractor complained continually to Hunt about
                  out of sequence work;

       •          All Subcontractors complained about the issuance of Bulletins – timeliness of
                  them being issued, issued in multiple iterations, how this affected the sign off of
                  the BIM process and ultimately affected approved shop drawings by each trade.
                  This also affected the layout of items in concrete pours such as sleeves, drains,
                  and floor sinks which often located items in the wrong location causing multiple
                  delays, which required scanning of concrete and core drilling/saw cutting of the
                  concrete. This was difficult due to Post Tension cables in the concrete pours; and,

       •          Complaints by all Subcontractors regarding resolution and issuance of change
                  orders to all subs.



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C.     The Project was delayed from the start through no fault of Cobb.

       14.        The Project had troubles long before Cobb started work. At the start of the

Project, for example, Hunt did not timely complete the necessary excavation, concrete, and

structural steel foundation work for the Podium and Tower. In other words, Hunt did not

complete the necessary structural work that preceded all of the other trades’ work. These delays

impacted all follow-on work. Similarly, Hunt did not plan and procure in a timely fashion the

right of way permits to work on public roads to connect critical utility systems necessary to

support the construction of the project.

       15.        As a result, Cobb’s starting date on the Project moved from February 1, 2016 to

May 9, 2016 yet the finish date did not move.

       16.        The result of these early failures was to increase Cobb’s labor, direct costs and

indirect costs due to the increased period of performance and disrupted and out of sequence

work, as well as stacking of Cobb’s work with work of other trades. At one point, Hunt issued a

schedule revision that was intended to accelerate and stack work in an effort to make up the time

Hunt had lost during the early stages of the project.

D.     Hunt failed to properly manage the Project.

       17.        Throughout the Project, Hunt failed to properly manage the Project. As the

General Contractor on the Project, Hunt had the responsibility to manage and coordinate all of

the subcontractors on the Project, ensure that the subcontractors had full access to the Project

site, and maintain the Project site. Hunt failed on all counts.

       1.         Hunt failed to properly manage, schedule, and sequence the subcontractor
                  work on the Project.

       18.        The lack of a mutually agreeable CPM schedule led to a number of Project

management issues.        Hunt was unable to properly manage, schedule, and sequence the

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subcontractor work on the Project, including the predecessor work that must be completed before

Cobb’s work could commence and the successor work that was required to follow. With no

constructible CPM Schedule, it was a “free for all”, and there was little, if any, coordination

between the various subcontractors. The CPM schedule was a meaningless public relations

document that did not accurately depict the required work tasks, sequences, and/or durations or

predict an accurate achievable finish date for the project or for individual major milestones of the

work.

        19.       Another example of Hunt’s failures concerned its failure or refusal to understand

the inspections process in the Tower, especially in regard to third party inspectors (i.e. arranged

by owner). This includes the inspections of the So-Vent System and the multiple City of Austin

inspections required by both the Plumbing and Mechanical/HVAC sides. Cobb attempted to

assist by providing a fragnet schedule to Hunt depicting these activities in the Tower, but Hunt

failed to incorporate this into the schedule.

        20.       Hunt’s failure to coordinate work among subcontractors and failure to provide

adequate scheduling and sequencing/coordination of trades meant that Cobb was on its own with

respect to the other subcontractors. Cobb was forced to try and independently coordinate its

work with other subcontractors absent the guidance of a responsible general contractor. This

highly inefficient process cost Cobb valuable time that it should have used to complete Cobb’s

scope of work. This also significantly increased Cobb’s costs. Moreover, this process failed to

meet industry standard for a project of this size and scope. As a result, there was at most only

sporadic coordination between the various subcontractors by Hunt; and, it was left to the

subcontractors to try and accomplish this in the field amongst the various subcontractors without

any help from Hunt.


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       21.        This led to Cobb having to perform out of sequence work and duplicative work.

Cobb’s mechanical work must proceed in a logical sequence. Not only must Cobb’s work fit

into the sequence of Cobb’s various plumbing and mechanical tasks, but it must also fit into the

general construction sequence. Cobb’s work is very much dependent upon and driven by various

predecessor tasks/trades. There was no such sequence, and as a result Cobb was forced to

perform work out of sequence, wait for predecessor work to be completed, and, at times,

complete the same work twice. This negatively impacted Cobb’s productivity and drastically

increased Cobb’s costs of performance, and it extended the time required in which to complete

such various work activities.

       22.        The incomplete design ie. numerous RFIs, lack of shop drawings by other

contractors for example the kitchen subcontractor and the numerous bulletins and multiple

issuance of most all bulletins negatively impacted the following steps.

       •          The BIM Model could not be completed and signed off timely.

       •          This affected final shop drawings that had to be done in steps and chunks,

       •          Next they had to be approved by the Architect/Engineer.

       •          Finally, when approved downloaded by the sheet metal fabrication shop to build

                  the duct.

       23.        Hunt also changed up the flow of how they were building the project. Initially

and as bid they were building from the ground up and when they ran into problems with the

Podium levels they announced in the field that they decided to skip lower levels and start on

level 3 and work up the tower.




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       24.        This had a huge effect on BIM Modeling, a major kink in the already planned

shop drawings and switching up our fabrication schedule Cobb’s shop that was already in the

works for the lower levels.

       25.        This in turn had a tremendous impact to drawings, fabrication, material delivery,

work installation, and out of sequence work with all trades. This also created problems with

storing duct and other materials of floors and costing Cobb additions time and money to

continually move these items which also meant other trades now had their materials stockpiled in

areas where Cobb needed to work creating obstacles on every floor.

       26.        Cobb was not the only subcontractor that complained about the lack of

coordination and direction on the Project. Other subcontractors that complained about this

included: Berg Electric, Stohl Drywall, Otis Elevator, North Star Fire Protection, Alamo Tile &

Stone, Cherry Paint, Brandt, Meyer Concrete, Simplex Grinnell, Tile Quote, Austin Energy, and

Trimark USA.

       2.         Acceleration of Cobb’s work.

       27.        The failure to schedule and coordinate construction led to the acceleration of

Cobb’s work. Because of the unreliability and inadequacy of the construction schedule, there

was never a steady flow of work for Cobb. Instead, Cobb spent most of its time trying to chase

Hunt’s constantly changing deadlines and jumping from area to area. As a result, Cobb was

forced to provide workers well in excess of its initial determination and forced to pay overtime

wages. In short, Hunt’s actions and failures to act, and its substandard and ineffective project

management, delayed the completion of Cobb’s work. However, Hunt failed and refused to

grant Cobb the required schedule extension and instead insisted that Cobb complete its work by

what was in reality an artificially premature completion date. This constituted a constructive


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acceleration of Cobb’s work, and Cobb was never compensated for this constructive

acceleration.

       28.        Again, Cobb was not the only subcontractor whose work was accelerated.

       3.         Project site access issues.

       29.        Hunt failed to provide Cobb with adequate site access. The Podium is seven

stories; the Tower is 31 stories. Given this configuration, Cobb had to utilize the on-site cranes

and hoists/lifts in order to move its men and materials and access the work areas. Hunt was

required to provide hoists and cranes necessary for this access. Without access to the on-site

cranes and hoists/lifts, Cobb could not complete its work. Thus, it was important that Cobb have

timely/coordinated access to these resources throughout the Project. However, the man hoists

and material hoists were often broken down and not reliable. This was a huge impact on Cobb’s

productivity and made Cobb’s work very inefficient.

       30.        In addition, Porta Johns were continually full, disgusting, and very seldom

cleaned. They also had a deficient number for the size of the work force for all trades, especially

after Hunt accelerated the project.

       31.        Hunt did not provide timely adequate access to the on-site cranes and hoists/lifts.

       32.        For example, Cobb tried to scheduled crane time with Hunt’s on-site supervision.

Hunt gave preferential treatment to other subcontractors and ignored Cobb’s previously

scheduled reserved crane time. As happened numerous times during the Project, Cobb would

give Hunt several weeks’ notice of its need for the on-site crane, and Hunt would affirm Cobb’s

request. When it was time for Cobb to access the crane, however, Hunt told Cobb that there was

no access. In some instances, Cobb had to pay other subcontractors to use the crane during their

allotted time, or to pay the crane operator to provide the lifts.


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       33.        When Cobb coordinated delivery of several Air Handling Units, Cobb was forced

to re-route them and store them in Cobb’s Round Rock Yard, approximately 20 miles away from

the job site, where Cobb stored the units for several months because Hunt could not get the

concrete pads poured for Cobb to set the units. Once the concrete was poured, they then

continued with the structure not allowing Cobb to directly set the AHUs.

       34.        The intermittent crane availability made it difficult for Cobb to efficiently

complete its work on the Project. Cobb wasted considerable time scheduling, and waiting for,

crane availability. This resulted in decreased productivity.

       35.        A similar situation occurred with respect to the buck hoists on the Project. The

buck hoists were used to transport workers from the ground level to the various levels of the

project. Hunt failed to maintain functional and safe buck hoists throughout the tenure of the

Project. As a result, the buck hoists ran intermittently. When the buck hoists were functional,

there were long lines of workers on a daily basis who were forced to wait in line to access the

buck hoists. This resulted in wasted time. When the buck hoists did not work, workers on the

Project were forced to use the stairs in order to access their work areas, most of which were on

the 6th to 37th floors of the Tower. Again, this failure resulted in more wasted time.

       36.        The quantity of hoists was inadequate for this project. There should have been

twice as many as were provided.

       37.        Hunt’s failure to maintain a functional buck hoists resulted in lost productivity

and lost time on all material handling activities. Cobb wasted considerable time scheduling, and

waiting for, buck hoist availability. Cobb personnel also wasted considerable time walking the

stairs up to the 37 floors of the Tower. This resulted in decreased productivity.




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       4.         Other site management issues.

       38.        Hunt continuously changed the conditions for Cobb’s workers. For example,

Hunt prohibited Cobb’s workers from eating in the building during their breaks. This meant that

Cobb’s workers would have to spend time traveling down the building (see above discussion re:

inefficiency of buck hoists, etc.) to eat, and then traveling back up to their respective work levels.

This is very unusual for this type of construction project, and this development was not

contemplated at the time Cobb finalized it price for the work. This resulted in wasted time and

decreased worker productivity.

       39.        Hunt also failed to provide workers with adequate sanitary facilities on the upper

floors of the building. This forced workers to have to walk down and back up multiple levels

each day just to try to find, and use, the restroom. Cobb resorted to starting a worker an hour

early every day to survey the tower and identify the locations of the facilities to share with the

team so they were not “searching” for a place to relieve themselves. In addition to the lack of

sufficient quantity of facilities, the facilities that were provided were never serviced at the proper

intervals resulting in unsanitary overflowing conditions and facilities without tissue paper. Even

on the ground floor, Hunt failed to maintain the sanitary facilities on a regular basis. This

resulted in wasted time and decreased worker productivity.

E.     Hunt improperly terminated Cobb.

       40.        On November 18, 2016, Hunt issued a partial termination of the Subcontract. In

particular, Hunt terminated Cobb’s work in the Podium. The Terminated Work included the

following:

       All Mechanical and Plumbing Work in the Podium (Level Seven and Below). A
       more detailed scope of work will be further defined upon a joint meeting between
       Cobb and Hunt that is planned to happen no later than Monday November 21,
       2016.

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The stated reasons for this partial termination were:

       •          Cobb’s alleged failure to supply sufficient labor, materials and supervision;

       •          Cobb’s alleged failure to meet the Project Schedule; and

       •          Cobb’s alleged delay of other subcontractors on the Project.

       41.        None of these stated rationales are accurate or provide justification for Hunt’s

termination of Cobb’s Subcontract. Cobb prepared a detailed analysis of the necessary labor,

materials, and supervisors required based on the bid information provided by Hunt and called for

in the Contract Documents. Cobb complied with these requirements in spite of Hunt’s failure to

coordinate work among the subcontractors and provide a steady flow of available work to Cobb.

In fact, Cobb often utilized crew sizes that were much larger than originally expected under the

information initially provided by Hunt. Cobb did not fail to supply sufficient labor, materials, or

supervision.

       42.        Hunt’s complaint about the “Project Schedule” is confusing. Hunt never provided

a workable Project schedule and refused to work with Cobb on a mutually agreeable CPM

Schedule. There was never the contractually required mutually agreed schedule. Cobb could not

meet a “Project Schedule” that did not exist. Moreover, Hunt has never identified: (1) which

specific schedule(s) Cobb allegedly delayed; or (2) exactly how Cobb failed to meet the “Project

Schedule.”

       43.        Likewise, Hunt’s claim that Cobb somehow impacted other subcontractors is

absurd given Hunt’s failure to provide a workable Project schedule and mismanagement of the

Project. In fact, Cobb consistently attempted to coordinate its work with the other subcontractors

that were similarly suffering from Hunt’s inadequate scheduling and extreme lack of



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communication. Any alleged issues with subcontractors have been caused by Hunt's inability to

properly schedule and sequence/coordinate its various trade subcontractors.

        44.       Cobb was harmed by Hunt’s improper partial termination. In particular, Cobb

incurred additional costs as a result of Hunt’s improper partial termination. Cobb also lost the

overhead and profit that it would have received had it been allowed to complete the Podium

work.

F.      Hunt replaces Cobb with Brandt.

        45.       Hunt assigned Cobb’s remaining Podium work to Brandt Companies (“Brandt”).

On November 18, 2016, Brandt assumed responsibility for completing the mechanical and

plumbing work in the Podium. However, it then took Brandt more than six weeks to come up to

speed and staff the project before they began installing any measurable volume of work further

contributing to overall project delays. This represented a waste of hundreds of man-days or

production in lost time.

        46.       Brandt’s work on the Podium has been inefficient and cost Hunt more money than

Cobb would have charged for the same work. For example, Hunt contracted with Brandt on a

time and materials basis. Not surprisingly, this has led to astronomical costs for the above

replacement work. It appears that Brandt has treated this work as a blank check to enrich Brandt

at the detriment of Hunt and Cobb. Brandt’s charges are considerably higher than the amount

Cobb would have charged if it had been allowed to complete the work in the Podium. In fact, it

appears that the Brandt charges for the podium exceed Cobb’s entire contract amount. Brandt’s

actions were not reasonable in many respects, such as Brandt throwing out most of Cobb’s

materials and fabricated duct work for the podium for no reason. It appears that neither Hunt not

Brandt did anything to try and mitigate and control the costs of completing this work.


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G.     Hunt removes controls and test and balancing from Cobb’s scope of work.

       47.        When Hunt improperly terminated Cobb’s work on the Podium, Cobb’s scope of

work still included the controls work and the testing and balancing work for the entire Project.

Cobb repeatedly asked Hunt for direction with regard to the controls work and the testing and

balancing work. Hunt did not respond to Cobb. Cobb thus correctly assumed that it was still

responsible for the controls work and the testing and balancing work. Among other things, Cobb

continued to perform and bill Hunt for this work.

       48.        On June 15, 2017, Hunt informed Cobb, for the first time, that the controls and

testing and balancing work on the Project were no longer within Cobb’s scope of work. This

was seven months after its improper partial termination. This decision applied to all of the

testing and balancing work on the Project, including such work to be performed in the Tower.

Hunt decided to re-subcontract this work through its own controls and testing and balancing

subcontractor.

       49.        This last-minute change was counterproductive and added unwarranted and

unnecessary costs. Hunts’ unnecessary re-subcontracting plan cost more than it would have to

simply allow the Cobb subcontractors to complete the controls and testing and balancing work

on the Project under Cobb’s existing subcontracts.

H.     Hunt’s mismanagement of the Project was even worse after Cobb’s improper
       termination.

       50.        Hunt’s mismanagement continued, and in fact worsened, after Cobb’s improper

partial termination. After this improper partial termination, Cobb worked only on the Tower.

Subcontractor work in the Tower following termination was uncoordinated and mismanaged by

Hunt. As a result, Cobb continued to suffer from the same deficiencies it experienced pre-

termination. As before, Hunt has improperly accelerated Cobb’s work, and this acceleration has

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caused Cobb to add overtime, additional shifts, additional supervision, and additional equipment

rental.

          51.     Hunt’s mismanagement, demands, constructive acceleration, and material

unilateral changes to the Subcontract have increased Cobb’s construction labor costs for

overtime, additional shifts, and/or manpower. Hunt’s breaches have also caused Cobb to incur

increased costs for additional equipment and maintenance. In addition, Cobb has incurred

additional costs associated with expending labor and equipment orders, increasing supervision,

losing efficiency and productivity, and other increased job site and home office expenses which

are directly related to Hunt’s acceleration of Cobb’s work.

          1.      The Site access/site condition issues continued.

          52.     The site access and management issues discussed above continued after Cobb’s

improper termination. These issues also continued to adversely affect Cobb’s productivity.

          2.      Hunt failed to timely deliver permanent power.

          53.     Hunt was responsible for providing permanent power for the Project. It failed to

timely do so. Since its inception, the Project used temporary power to provide lighting, small

tool charging, and other non-permanent system operations.            Cobb (and Brandt) could not,

however, use temporary power to run the air handling equipment on the Project. Doing so would

risk damage to these systems. Cobb also could not operate fan coil units, outside air handling

units, icemakers, water heaters, booster pumps, boilers, sewage ejectors, lift stations, and

recirculation pumps without permanent power.

          54.     This permanent power was also necessary for the other trades on the Project. For

example, the elevator subcontractor would not operate the elevators without permanent power.

This resulted in a delay of the availability of the elevators to workers on the Project. The lack of


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permanent power also hindered the electrical, subcontractors, and delayed Brandt from starting

all the major mechanical systems of the project (that were previously in Cobb’s subcontract)

which delayed the availability of cooling/heating in the entire building and domestic water to the

Tower since booster pumps could not run.

       55.        Hunt did not provide permanent power to the Project until July 5, 2017, eleven

months late. Hunt’s failure to timely provide permanent power prevented Cobb from completing

its work on time and in a productive manner. It also precluded other trades from completing

their work on time and in a productive manner.

       3.         Hunt failed to timely provide permanent domestic water.

       56.        Hunt was responsible for supplying permanent domestic water to the building.

Permanent domestic water was required in order for Cobb to properly install and test plumbing

fixtures, conduct testing and setup of pressure reducing valves, install icemakers, perform

chlorination, and to conduct final inspection and operational testing of plumbing systems.

Permanent domestic water at the appropriate design flow and pressure is also required in order to

finalize bathroom fixtures to ensure that each fixture functions properly, to ensure supply and

waste connections are water-tight, and to caulk fixtures.

       57.        Hunt did not provide permanent domestic water to the Project until July 5, 2017,

over ten months late. Hunt’s failure to timely provide permanent domestic water prevented

Cobb from completing its work on time and in a productive manner.



       4.         Hunt failed to timely provide chilled water connections.

       58.        Hunt was responsible for completing the chilled water connections to the project

as a whole, serving the tower and the podium. These connections are necessary for Cobb to start


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up and check/test fan coil units, outside air handling units, and icemakers. These pieces of

equipment must be started in order to begin to perform testing and balancing, as well as to

conduct controls testing activities as well as final operational testing of all Cobb’s systems.

Cooling also provides a means of humidity control in the building that is necessary for

application and curing of wall finish compounds. The lack of cooling and humidity control

caused over double the cure time for wall finish compounds further delaying painting and wall

covering activities which are predecessors to all trim activities. Lack of chilled water also

delayed start-up of walk in coolers and cooling required in electrical rooms and elevator

equipment rooms for start-up of the permanent elevators for construction use.

       59.        Chilled water connections were not available until July 6, 2017, six months late.

Hunt’s failure to timely provide chilled water connections prevented Cobb from completing its

work on time and in a productive manner.

       5.         Hunt failed to timely provide domestic hot water to Tower.

       60.        Hunt was responsible for providing domestic hot water to the Tower. Cobb

needed hot water to properly test, inspect, and verify operation of plumbing fixtures such as

lavatories, showers and bathtubs.

       61.        Hunt did not provide domestic hot water until December 7, 2017, many months late.

Even then, there were problems with the recirculation system until Cobb worked with Blum to

determine the proper pump turndown to maintain flows. This was resolved on December 27, 2017 –

fifteen months late. As a result, Cobb could not timely complete the above referenced work.

Cobb had to revisit every fixture in every room in the Tower once the hot water became

available costing Cobb significant time and money because of the late delivery of domestic hot

water by Hunt.



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         I.       Hunt has not paid Cobb for its work.

         62.      Hunt has not paid Cobb for all of Cobb’s work on the Project.         Cobb has

submitted all of the paperwork required under the Subcontract. Instead of paying the proper

amount to Cobb, Hunt has consistently withheld part of the payment due to Cobb with absolutely

no justification.

         63.      As a result of this non-payment, Cobb has filed four Liens against the Fairmont

Hotel:

 Affidavit Amount of Lien                             Date      of      Filing Notice to Owner
                                                      Affidavit

 No. 1          $2,063,970                            October 9, 2017         October 2017


 No. 2          $52,662.50                            December 11, 2017       December 13, 2017


 No. 3          $94,536                               December 11, 2017       December 13, 2017


 No. 4          $115,892.10                           January 17, 2018        January 19, 2018


         64.      Cobb has not been paid any of the above amounts, and Cobb does not expect to be

paid this amount based upon Hunt’s failures and refusals. Cobb will continue to file lien notices

for any invoiced amounts not paid timely by Hunt. There are additional amounts owed as well,

including retainage.

J.       Hunt cannot finish the Fairmont Hotel.

         65.      It has become clear that Hunt may not be able to finish the Fairmont Hotel. The

Owner of the Fairmont Hotel has had to postpone the opening date multiple times, and Hunt has

failed to meet any of the deadlines for completing the Fairmont Hotel. There is no end in sight,

and as of this filing, no one knows when the Fairmont Hotel is going to be completed because


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Hunt has failed to publish an updated schedule that clearly shows a new substantial completion

date.

        66.       In addition, the substantial completion date has continually slipped due to

numerous Major Events which impacted the completion of work. For example:

        •         Multiple Water Events Dating Back to 2016

        •         Lack of vertical transportation for material & tradesmen & women.

        •         Failure of Porte-Cochere.

        67.       All of these have impacted Cobb's ability to be productive and complete its work.

        68.       This confusion and inability by Hunt to complete the Project continues to cost

Cobb time and money. Cobb has continually asked Hunt for a completion CPM schedule, so that

Cobb can plan its manpower and schedule its remaining work. To date, Hunt has never supplied

such a completion CPM schedule. As a result, Cobb has had little if any direction from Hunt.

Both Cobb and the other subcontractors are operating in a fog, and it is impossible to efficiently

coordinate and schedule work on the Project.

        69.       Cobb expects that Hunt will try to blame Cobb for this delay in completing the

Fairmont Hotel based upon Hunt’s past efforts to cast blame elsewhere in an attempt to avoid the

natural conclusion that all such delays have been caused by Hunt. It is undisputed that Cobb is

not now on the critical path of completion. Nor has it been at any time since Hunt’s Partial

Termination. In fact, Cobb has never been the cause of any critical path delay on any schedule

that Cobb has received. The failure rests solely with Hunt and its gross mismanagement of the

Project.

        70.       The Owner of the Fairmont Hotel is desperate to finish the Hotel. It has reached

out to several subcontractors and offered to directly pay the subcontractors to accelerate their


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work on the Project. The Owner is clearly dissatisfied with Hunt’s inability to manage the

Project on time, or at all. Cobb expects that the Owner will likely initiate a lawsuit against Hunt

for its incompetent management of this Project.

I.     Damages from poor Project management.

       71.        Cobb has been damaged by Hunt’s failure to properly manage and schedule the

Project. In particular, Cobb has suffered, by way of example and not limitation:

       (a)        increased construction labor costs for overtime, additional shifts, and/or
                  manpower;

       (b)        increased equipment maintenance costs and the cost of additional
                  equipment and/or materials;

       (c)        increased costs associated with expediting labor, equipment and material;

       (d)        increased supervision;

       (e)        increased job site expenses and home office expenses directly related to the
                  acceleration effort;

       (f)        loss of inefficiency and productivity;

       (g)        increased costs in relation to the test and balancing work;

       (h)        damages to Cobb’s reputation as a result of the improper and unjustified partial
                  termination; and

       (i)        damages and costs due to the involvement of Cobb’s surety following the
                  improper partial termination by Hunt.


       72.        Hunt’s failure to coordinate caused Cobb to suffer a decrease in productivity.

When Cobb executed the Subcontract, it did so understanding and conditioned on the premise

that it would be able to complete its work in an orderly and efficient manner per a mutually

agreed to CPM construction schedule. Cobb’s pricing was based upon this assumption and

determining whether to execute the Subcontract. Cobb would not have priced its work as it did


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or executed the subcontract if it knew of the actual job conditions on the Project. In fact, Cobb

would have likely walked away from the opportunity of working on Project if it had known

about the incompetent management of the Project or had known Hunt would refuse to provide

Cobb with a mutually agreed to schedule.

       73.        Cobb’s actual productivity on the Project was significantly lower than that

historically experienced. As an experienced mechanical contractor, Cobb has developed work

plans and strategies which maximize Cobb’s construction efforts. This has resulted in historical

productivity data that is usually highly efficient and profitable.

       74.        Cobb was unable to achieve this historic/anticipated/planned production on the

Project due to Hunt’s failure to properly manage, coordinated schedule the product work.

                                     Claim – Breach of Contract

       75.        Cobb hereby incorporates Paragraphs 88-160 of its Counterclaim as though fully

restated herein.

       76.        Hunt breached the Subcontract by:

       (a)        improperly terminating Cobb’s work on the Podium;

       (b)        failing to pay Cobb for all of its completed work;

       (c)        mismanaging the Project and then making unreasonable demands on Cobb
                  for additional labor, materials, and supervisors;

       (d)        failing to coordinate work among subcontractors and provide adequate scheduling
                  and sequencing/coordination of trades;

       (e)        failing to establish a mutually agreed upon CPM Schedule;

       (f)        failing to properly schedule the work on the Project;

       (g)        failing to provide Cobb’s workers with adequate sanitary facilities, man hoists,
                  and access to the crane and lifts; and

       (h)        failing to comply with its implied duty to cooperate and not hinder Cobb’s
                  performance.
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       77.        These breaches hindered Cobb’s ability to apply its labor, materials, and

equipment in a cost-effective and productive manner as planned and contracted.               Hunt’s

mismanagement, demands, and material unilateral changes to the Subcontract caused Cobb

significant damages, presently in excess of $8 million.

                              Claim – Request for Declaratory Relief

       78.        Cobb hereby incorporates Paragraphs 88-163 of its Counterclaim as though fully

restated herein.

       79.        Cobb seeks a declaration of its rights under the Subcontract. Specifically, Cobb

requests a declaration that Hunt’s partial termination of Cobb was improper under the

Subcontract, and an award of all associated damages.

                                      Claim - Attorney’s Fees

       80.        Cobb hereby incorporates Paragraphs 88-165 of its Counterclaim as though fully

restated herein.

       81.        The Subcontract states that the “prevailing party” in any lawsuit between the

Parties is entitled to “all of its attorney's fees, disbursements or costs as defined in Section 33.6

incurred in connection with the prosecution or defense of the dispute.”                Cobb seeks

reimbursement for all of Cobb’s “attorney's fees, disbursements or costs.”

                                       Conditions Precedent

       82.        Cobb has satisfied all conditions precedent for pursuing and recovering on its

claim and for the recovery of its reasonable and necessary attorneys’ fees.




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                                       Respectfully submitted,

                                       Greenberg Traurig LLP

                                       By : /s/ Michael L. Burnett
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                                              ATTORNEYS FOR DEFENDANT COBB
                                              MECHANICAL CONTRACTORS, INC.

                              CERTIFICATE OF SERVICE

       I hereby certify that this Response was electronically filed with the Court and that
counsel of record, who are deemed to have consented to electronic service in the above
referenced case, are being served this 12th day of February 2018, with a copy of the above
document via the Court’s CM/ECF System.

                                              /s/ Michael L. Burnett
                                              Michael L. Burnett




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